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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA


 THE STATE OF OKLAHOMA et al.,

                        Plaintiffs,
     v.                                             No. CIV-21-1069-G

 JOSEPH R. BIDEN et al.,

                        Defendants.



          DEFENDANTS’ MOTION TO STAY WITH BRIEF IN SUPPORT

       The plaintiffs’ most recent notice of new authority discusses Georgia v. Biden, No. 21-

cv-00163 (S.D. Ga. Dec. 7, 2021), which involves a similar challenge to EO 14042 and its

implementing guidance. See Pls.’ Notice, ECF No. 26 (including the slip opinion as ECF No.

26-1). Concluding that the President likely exceeded his authority under FPASA when issuing

Executive Order 14042, the Georgia court enjoined the federal government “from enforcing

the vaccine mandate for federal contractors and subcontractors in all covered contracts in any

state or territory of the United States of America.” Slip Op. at 27.

       So long as it remains in effect, this nationwide injunction eliminates the plaintiffs’

allegedly irreparable injuries stemming from EO 14042 and its implementing guidance.

Accordingly, in the interest of conserving judicial resources, defendants hereby move to stay

further litigation, unless and until the Georgia injunction is stayed, vacated, or narrowed such

that adjudicating the plaintiffs’ motion for a preliminary injunction would have practical

significance. Undersigned counsel conferred with counsel for the plaintiffs, who indicated that

the plaintiffs oppose this motion.
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       “A district court has inherent power ‘to control the disposition of the causes on its

docket with economy of time and effort for itself, for counsel, and for litigants.” Heck v. Triche,

775 F.3d 265, 276 (5th Cir. 2014) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)); see

also, e.g., Clinton v. Jones, 520 U.S. 681, 706 (1997) (recognizing district court’s “broad discretion

to stay proceedings”). This includes the power to enter a stay “pending resolution of

independent proceedings which bear upon the case.” Cantu Servs., Inc. v. Brown, No. CIV-15-

1210-W, 2016 WL 11248521, at *4 n.7 (W.D. Okla. Feb. 10, 2016) (citation omitted). In

determining whether to stay a case, the court must consider what is “efficient for its own

docket” as well as “the fairest course for the parties.” Leyva v. Certified Grocers of Cal., Ltd., 593

F.2d 857, 863 (9th Cir. 1979).

       Here, conservation of the Court’s and the parties’ resources weighs in favor of a stay.

The requested stay imposes no hardship on the plaintiffs; they are not at risk of being harmed

by EO 14042 and its implementing guidance as long as the Georgia injunction remains in place.

In similar situations, courts have readily stayed superfluous proceedings. See, e.g., Pars Equality

Center v. Trump, No. 17-cv-0255-TSC (D.D.C. March 2, 2018), Dkt. No. 143 (staying request

for preliminary relief because another nationwide injunction “calls into question whether the

harms Plaintiffs allege are actually imminent or certain—a prerequisite for a preliminary

injunction”); Washington v. Trump, No. C17–0141, 2017 WL 4857088, at *6 (W.D. Wash. Oct.

27, 2017) (because another district court had “already provide[d] Plaintiff States with virtually

all the relief they seek,” plaintiffs will not incur “any significant harm” by the court’s staying

consideration of their TRO motion); Int’l Refugee Assistance Project v. Trump, No. 17-cv-0361,

2017 WL 1315538, at *2 (D. Md. Apr. 10, 2017) (“[I]n light of the current nationwide


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injunction of Section 6 by the United States District Court of the District of Hawaii, a stay

would not impose any hardship on Plaintiffs or result in irreparable harm.”); Hawaii v. Trump,

233 F. Supp. 3d 850, 853 (D. Hawaii 2017) (“[T]he Western District of Washington’s

nationwide injunction already provides the State with the comprehensive relief it seeks in this

lawsuit. As such, the State will not suffer irreparable damage . . . if the Court were to grant

Defendants’ motion to stay.”). Indeed, another district court stayed a similar challenge to EO

14042 and its implementing guidance in light of the Georgia injunction over plaintiff’s objection

(there, the state of Texas). See Minute Order of Dec. 10, 2021, Texas v. Biden, No. 3:21-cv-309-

JVB (S.D. Tex.) (“Case is stayed.”).

       To be sure, the federal government strongly disagrees with the Georgia decision, has

filed an appeal, and is seeking to stay—or, in the alternative, to narrow—the Georgia injunction

during the pendency of that appeal. See Motion for Stay, Georgia v. President of the United States,

No. 21-14269 (11th Cir. Dec. 10. 2021); see also Georgia, No. 21-cv-00163 (S.D. Ga.), Dkt. Nos.

96, 97. If the federal government succeeds in modifying the injunction, such that this Court’s

adjudication of these plaintiffs’ challenge to EO 14042 and its implementing guidance would

have practical significance, this Court could lift its stay and be in a position to rule promptly.

Unless and until that happens, however, the plaintiffs cannot show that they are “likely to

suffer irreparable harm in the absence of preliminary relief.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008); see also Colorado v. EPA, 989 F.3d 874, 884 (10th Cir. 2021) (“[A]

speculative or theoretical injury will not suffice. The injury must . . . be of such imminence

that there is a clear and present need for equitable relief to prevent irreparable harm.” (cleaned

up)). Accordingly, there is no basis for this Court to grant the plaintiffs’ pending motion for


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preliminary injunction, 1 and there is no need for further litigation regarding EO 14042 and its

implementing guidance at this time.

       A proposed order is attached for the Court’s convenience.


    Dated: December 13, 2021                         Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General

                                                     BRAD P. ROSENBERG
                                                     Assistant Branch Director

                                                     /s/ Madeline McMahon
                                                     MADELINE M. MCMAHON
                                                     KRISTIN A. TAYLOR
                                                     JODY D. LOWENSTEIN
                                                     Trial Attorneys
                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street N.W.
                                                     Washington, DC 20005
                                                     (202) 451-7722
                                                     madeline.m.mcmahon@usdoj.gov




1 To the extent that an Article III case or controversy exists here, the Georgia decision did not
render it moot. See, e.g., California v. U.S. Dep’t of Health & Hum. Servs., 941 F.3d 410, 420-23
(9th Cir. 2019), vacated on other grounds by Little Sisters of the Poor Saints Peter & Paul Home v.
Pennsylvania, 140 S. Ct. 2367 (2020). Accordingly, the Georgia decision would not prevent the
Court from denying the plaintiffs’ pending motion for preliminary injunction on any of the
various grounds discussed in defendants’ opposition briefing, ECF No. 25. At present,
however, it is simply unnecessary to adjudicate the plaintiffs’ motion one way or the other.
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                              CERTIFICATE OF SERVICE

       On December 13, 2021, I electronically submitted this document to the clerk of court

of the U.S. District Court for the Western District of Oklahoma using the court’s electronic

case filing system. I certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                   /s/ Madeline M. McMahon
                                                    MADELINE M. MCMAHON
                                                    Trial Attorney
                                                    U.S. Department of Justice
                                                    Civil Division, Federal Programs Branch
                                                    1100 L St. NW
                                                    Washington, DC 20005
                                                    (202) 451-7722
                                                    madeline.m.mcmahon@usdoj.gov




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